

People v Flores (2018 NY Slip Op 01614)





People v Flores


2018 NY Slip Op 01614


Decided on March 14, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
SHERI S. ROMAN
JOSEPH J. MALTESE
COLLEEN D. DUFFY, JJ.


2012-07217
 (Ind. No. 1351/11)

[*1]The People of the State of New York, respondent,
vMarcos Flores, appellant.


Marcos Flores, Dannemora, NY, appellant pro se.
Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano and Ellen C. Abbot of counsel), for respondent.
Paul Skip Laisure, New York, NY, former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated June 22, 2016 (People v Flores, 140 AD3d 1085), affirming a judgment of the Supreme Court, Queens County, rendered July 5, 2012.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
RIVERA, J.P., ROMAN, MALTESE and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








